Case 5:14-cr-50048-KES     Document 248   Filed 06/10/15   Page 1 of 43 PageID #: 2424




                         UNITED STATES DISTRICT COURT

                            DISTRICT OF SOUTH DAKOTA

                                  WESTERN DIVISION


 UNITED STATES OF AMERICA,                            5: 14-CR-50048-KES
                     Plaintiff,
                                              REPORT AND RECOMMENDATION
       vs.
 GERALD WAYNE LEBEAU,
 a/k/a GERS LEBEAU
 NEIL THOMAS LEBEAU,
                     Defendants.



       Pending before this Court are the following Motions:

             1. Gerald LeBeau's Motion to Suppress (ECF No. 30)

             2. Gerald LeBeau's Motion to Suppress Tape Recordings of Jail
                Telephone Calls (ECF No. 129)

             3. Neil LeBeau's Motion to Suppress Recorded Telephone
                Conversations (ECF No. 154)

             4. Gerald LeBeau's Motion to Suppress Sealed Envelopes and Motion
                for a Frank's hearing (ECF No. 140)

             5. Neil LeBeau's Motion to Join Gerald LeBeau's Motion re: Sealed
                Envelopes/Frank's hearing (ECF No. 163)

             6. 'Gerald LeBeau's Second Motion to Suppress Statements and
                 Evidence and Request for a Frank's hearing (ECF No. 142)

             7. Gerald LeBeau's Motion to Suppress Evidence Taken from Tribal
                Land (ECF No. 157)

          8. Neil LeBeau's Motion to Join Gerald LeBeau's Motion to Suppress
             Evidence Taken from Tribal Land (ECF No. 160)




                                          1
    Case 5:14-cr-50048-KES     Document 248     Filed 06/10/15   Page 2 of 43 PageID #: 2425




              9. Neil LeBeau's Motion to Suppress Evidence re: 2012 traffic stop
                 (ECF No.161)

           An evidentiary hearing was held on March 11-13, 2015. Defendant

     Gerald LeBeau (hereinafter "Gers") was personally present and represented by

     his attorney of record, George Grassby. Defendant Neil LeBeau (hereinafter

     "Neil") was personally present and represented by his attorney of record, John

     M. Fitzgerald. The Government was represented by Ted McBride. Fifteen (15)

     witnesses testified at the hearing. Forty-two (42) exhibits were received into

     evidence. Both parties have submitted briefs prior to the hearing and

     subsequent to the hearing. Based on a careful consideration of all the

     evidence, and counsel's arguments, the Court respectfully makes the following

     findings of fact and conclusions of law:

                                      JURISDICTION

           Defendant Gerald LeBeau is charged in a Superseding Indictment with

     Possession with Intent to Distribute a Controlled Substance in violation of 21
j
     U.S.C. §§ 841(a)(l) and 841(b)(l)(C), Conspiracy to Distribute a Controlled
J
l
     Substance (Cocaine) in violation 21 U.S.C. §§ 846, 841(a)(l) and 841(b)(l)(B),


I    Conspiracy to Distribute a Controlled Substance (Marihuana) in violation 21

     U.S.C. §§ 846, 841(a)(l) and 841(b)(l)(D), and Witness Tampering in violation of

     18 u.s.c. § 1512(B)(l).

           Defendant Neil LeBeau is charged in a Superseding Indictment with

     Conspiracy to Distribute a Controlled Substance (Cocaine) in violation 21

     U.S.C. §§ 846, 841(a)(l) and 841(b)(l)(B), and Conspiracy to Distribute a



                                                2
Case 5:14-cr-50048-KES    Document 248     Filed 06/10/15   Page 3 of 43 PageID #: 2426




 Controlled Substance (Marihuana) in violation 21 U.S.C. §§ 846, 841(a)(l), and

 841(b)(1 )(D).

        The pending Motions were referred to the Magistrate Judge pursuant to

 28 U.S.C. § 636(b)(l)(B) and the Honorable Jeffrey L. Viken's Standing Order

 dated March 9, 2015.

                             FACTUAL BACKGROUND

        Gerald LeBeau, a/k/a Gers LeBeau has been the subject of a couple of

 investigations over the past 23 years during Special FBI Agent Dan Cooper's

 tenure in Rapid City. In 2002, Gers was convicted in the District of South

 Dakota of Possession with Intent to Distribute and received a 120 month

 prison sentence. During the course of the 2002 investigation, Gers threatened

 to kill a law enforcement officer and his family. Gers also took efforts to escape

 law enforcement, such as diving out of a window and leading officers on a high

 speed chase. From 2011 to 2013, law enforcement had reports from

 independent sources that Gers possessed guns, waived guns, threatened to

 shoot people, and threatened to have a shoot-out with police because he did

 not want to go back to prison. (Hr'g Tr. 234). From 2011 through the date of

 their arrest, Gers LeBeau and Neil LeBeau were the subject of an open and

 active FBI investigation involving illegal narcotics.

        On January 10, 2014, a Special Agent from Montana, Jeff Young Blood,

 was effectuating a search warrant of a hotel room at Cadillac Jack's Casino in

 Deadwood, South Dakota. This search was conducted in an unrelated case

 involving Lloyd Nickel. While executing the search warrant for Lloyd Nickel's

                                          3
Case 5:14-cr-50048-KES       Document 248       Filed 06/10/15     Page 4 of 43 PageID #: 2427




  hotel room, hotel staff informed Agent Young Blood that a female 1 who had

 accompanied Lloyd Nickel was still in the hotel and she was presently in the

 company of Gerald LeBeau. (Hr'gTr. 134, 229-231, 250-251, 476-477, 426).

        Unfamiliar with the history of Gerald LeBeau, Agent Young Blood

 contacted local Agent Dan Cooper to see if he was familiar with Gerald LeBeau.

 Agent Cooper informed Agent Young Blood of Gers' criminal history involving

 narcotics. Lloyd Nickel's hotel room and Ger's hotel room were on the same

 floor of the hotel. Given the concern that Agent Young Blood was in the middle

 of executing the search warrant, and that the female occupant of the hotel

 room was believed to be at large in the hotel and in the company of a suspected

 drug dealer (Gers), who was also at large in the hotel. Agent Cooper, along with

 Agent Lyle Tolsma and Agent Shawn Sheridan, went to Cadillac Jack's to assist

 Agent Young Blood.

        When the additional Agents arrived at Cadillac Jack's, hotel staff

 informed law enforcement that the female who had affiliated with Lloyd Nickel,

 was now in the company of Gers LeBeau. (Hr'g Tr. 185). Officer Tolsma and

 Officer Sheridan reviewed hotel surveillance footage showing the female, whom

 staff had identified as the female with Lloyd Nickel, enter Gers' hotel room.

 Wanting to speak with the female, law enforcement concocted a plan to have


 1 Defendants presented lengthy testimony and argument regarding the identity of the female.
 Hotel staff first believed the female who was initially with Lloyd Nickel, was named Jessica
 Fields. Hotel staff relayed to law enforcement that this female was now in the company of
 Gerald LeBeau. Gerald LeBeau called the female "Katrina." Ultimately, the female was
 identified as Tyra Smith. It should be noted that this female has previously been convicted of
 unauthorized ingestion of methamphetamine, which is a felony. She also was one forgery
 conviction; previously used the name of Kristi Banda and has been arrested several times for
 concealing identity /forgery /theft of identity.

                                                4
     Case 5:14-cr-50048-KES     Document 248      Filed 06/10/15    Page 5 of 43 PageID #: 2428




       the hotel manager, Tim Atyeo, stand outside of Gers' hotel room while hotel

       staff telephoned Gers' room and ask Gers to the step outside to talk to the

      general manager. Gers opened his hotel room door and law enforcement asked

      him to step out of the room so they could speak to him. Gers stepped out of

       the hotel room into the hall where he was patted down and handcuffed. (Hr'g

      Tr. 254). Law enforcement inquired of Gers as to the identity of the female in

      the room. Officers testified that they informed Gers that they needed to speak

      with the female in the room. Gers stated that her name was Katrina, he did

      not know her last name, and that she was from Albuquerque. Gers called to

      the female, "Katrina" and according to the testimony of law enforcement, Gers

      indicated to the officers to go ahead. (Hr'g Tr. 321, 346). While in the hallway,

      Gers and Marlin LeBeau2 remained cuffed and detained and were not free to

      leave. (Hr'g Tr. 296). From review of the audio tape, law enforcement was not

l
l
ll
      threatening or aggressive. Gers was cooperative and did not vocalize any

IJ    protest when law enforcement indicated that they were going ahead with
lj    entering the hotel room. The quality of the audio tape makes it very difficult to

      decipher every conversation that took place.



I           The hotel room door was still ajar (Hr'g Tr. 283, 321) and Agent Tolsma

      knocked on the door and the female responded with, "Hello?" (Ex. 10 at 3:07).

      Agent Tolsma pushed open the door, entered the room and spoke to the female.

      While Agent Tolsma made contact with the female, Agent Sheridan conducted a


      2Marlin LeBeau was walking down the hallway when law enforcement first approached Gers'
      hotel room. He was detained in the hallway while law enforcement met with Gers in the
      hallway.

                                                  5
    Case 5:14-cr-50048-KES    Document 248    Filed 06/10/15   Page 6 of 43 PageID #: 2429




      protective sweep of the hotel room. Agent Tolsma testified that he felt that he

      had consent to enter the room to speak with the female, but that he did not

      have consent to search the room. (Hr'g Tr. 256). Gers' former attorney also

      stated that the agents had permission to enter the room to speak with or to

I     remove the female, but did not have consent to search the room. (Mot.




I
      Suppress 1, ECF No. 31). While conducting the protective sweep, Agent

      Sheridan observed a white powdery substance located on a counter by the sink
i
     in plain view. (Hr'g Tr. 257)
1
j          The female was removed from Gers' hotel room and taken to another
f
l
@

i     room for an interview. Gers and Marlin LeBeau were brought back into the
~
j    room. Law enforcement repositioned their handcuffs from behind the back to

     place them in the front. Agent Tolsma told Gers that they were there to identify

     the female and that they wanted to interview him. Agent Tolsma informed Gers

     that he was not under arrest and that he did not have to talk to law

     enforcement if he did not want to. (Hr'g Tr. 259). Gers informed the officers of
1
     how he met the female and why she was in his hotel room. Agent Tolsma

     asked Gers for consent to search the hotel room and prepared a permission to

     search form. (Ex. 11). Initially, the form identified Room 452, the Dillinger

     Suite, as the place to be searched. Gers signed the permission to search form.

     Agent Tolsma and Agent Sheridan both testified that they witnessed Gers

     signing the permission form. (Hr'g Tr. 263, 350).

           The audio tape stopped working during the time frame that Gers signed

     Exhibit 11. Upon discovering that the tape had malfunctioned, Agent Tolsma

                                             6
     Case 5:14-cr-50048-KES       Document 248    Filed 06/10/15   Page 7 of 43 PageID #: 2430




       secured the battery and approached Gers again regarding the consent form.

      The audio tape verifies that Gers confirmed that he previously signed the

       permission to search form. (Ex. 10, Ch. 2 at :014). Gers followed up by

       stating, "I've got nothing to hide." Id.

             Gers LeBeau had the odor of alcohol on him. However, he did not show

       any signs of intoxication from drugs or alcohol. (Hr'g Tr. 140, 141, 271, 430-

       431). When he was booked into the jail, he was administered a preliminary

       breath test ("PBT'') which registered a .036 (Hr'g Tr. 102).

             While searching his hotel room, Agent Tolsma asked Gers of they could

      also search his 1992 Thunderbird. Gers verbally agreed to allow law

      enforcement to search the Thunderbird. (Ex. 10, Ch. 2 at 39:40). Using a

      different pen, Agent Tolsma added the search of the Thunderbird to the

I      permission form. Agent Tolsma and Agent Sheridan initialed the form. Gers

      did not initial the form.

\            Agent Cooper searched Gers' Thunderbird. After discovering the large

      quantity of cocaine in Gers' car, Agent Cooper placed Gers under arrest. He

I     was escorted to the parking lot and placed in the patrol car. Agent Sheridan

       read Gers his Miranda rights. (Hr'g Tr. 140). Gers indicated that he understood

       his rights and wanted a lawyer before he said anything. Agent Cooper testified

       that after Gers asked for a lawyer, they did not ask him anything further. (Hr'g

      Tr. 141). During the 40-45 minutes transport to the Pennington County Jail,

      Gers engaged the agents in conversation. (Hr'g Tr. 141). Gers talked about

II
l



                                                  7
Case 5:14-cr-50048-KES   Document 248    Filed 06/10/15   Page 8 of 43 PageID #: 2431




 why he was at the casino, his gambling habits, and gambling strategies. (Hr'g

 Tr. 141).

       When Agent Sheridan and Agent Cooper arrived at the Pennington

 County Jail, Gers was booked into the jail. The booking form is Exhibit 15,

 and contains Gers' signature. Agent Tolsma was not present at the time Gers

 was booked into the jail or when Gers signed the form, as Agent Tolsma was

 still in Deadwood, processing the female on drug charges. (Hr'g Tr. 144).

       On January 16, 2014, Agent Cooper prepared an affidavit for an

 application for a search warrant for Gers' FEMA trailer located on the Pine

 Ridge Indian Reservation, Gers' cell phone and the 1992 Ford Thunderbird.

 Agent Cooper was unable to present the affidavit and application to United

 States Magistrate Judge Duffy, because she was out of town (Hr'g Tr. 146).

 They were then presented to District Court Judge Jeffrey L. Viken. Judge

 Viken began reviewing the affidavit and then recused himself from the case

 (Hr'g Tr. 147). Agent Cooper then presented the search warrants to South

 Dakota State Seventh Circuit Court Judge Robert Gusinsky. Judge Gusinsky

 issued the search warrants.

       On January 17, 2014, Agent Cooper and Agent Tolsma approached the

 Margaret Clark residence, which is located on the Pine Ridge Indian

 Reservation. Margaret Clark informed law enforcement that the house was

 hers; she had control over all of the rooms; that she lets friends and family stay

 there occasionally and temporarily. (Hr'g Tr. 125, 483). Ms. Clark gave officers

 consent to search her house and she signed the consent form, which is marked

                                         8
Case 5:14-cr-50048-KES   Document 248     Filed 06/10/15   Page 9 of 43 PageID #: 2432




 as Exhibit 5. (Hr'g Tr. 481, 483). Ms. Clark told law enforcement officers that

 different relatives stay at her house and that she had no idea what items

 belong to whom. (Hr'g Tr. 482). Only Ms. Clark and her sister, Twila, have keys

 to the Margaret Clark residence (Hr'g Tr. 484).

       While Gers was in custody of the Pennington County Jail, he placed

 several phone calls from the jail. At the beginning of all calls, an

 announcement is played warning both the inmate and the recipient of the call

 that the call is being recorded. The announcement is played in its entirety up

 until the recipient of the phone call either accepts or declines the phone call.

 (Hr'g Tr. 128-129). The recipient can skip the announcement, by electing to

 accept the call prior to the announcement being completed. Gers is familiar

 with this procedure as he has informed recipients that they don't need to listen

 to the whole announcement and they can simply accept the phone call. (Hr'g

 Tr. 129).

       In mid-February of 2014, while Gers was in custody at the Pennington

 County Jail, he wrote several letters. Two of the letters, which were sealed,

 were seized by US Marshals on July 16, 2014. One of the letters was

 addressed to Neil LeBeau and the other was addressed to Pablo LeBeau, Gers'

 son who was incarcerated on charges of conspiracy to distribute a controlled

 substance. Special Agent Matthew Miller presented a search warrant to United

 States Magistrate John E. Simko, who issued a warrant authorizing the letters

 to be opened. Additionally, inmate Scott Burleson was a cellmate of Gers

 LeBeau. Gers told Mr. Burleson of his drug trafficking activities (Hr'g Tr. 150).

                                          9

                                                                                         I
        Case 5:14-cr-50048-KES     Document 248 Filed 06/10/15     Page 10 of 43 PageID #:
                                              2433



        Mr. Burleson wrote letters to his attorney detailing the information provided by

        Gers. Additionally, Gers wrote a letter to Pablo LeBeau, gave it to Scott

        Burleson to mail to Pablo under the pretense that it was prepared and mailed

        by Scott Burleson in order to circumvent the jail mailing system. (Hr'g Tr.

        150-151). Mr. Burleson gave these letters to his attorney. Mr. Burleson and

        his attorney then arranged for a meeting with Agent Cooper and provided them

        with these letters. When the letters were provided to law enforcement by Mr.

        Burleson and his attorney, they had already been opened. Agent Cooper

        testified that Mr. Burleson was never directed to steal anything from Gers

        LeBeau. (Hr'g Tr. 160). He also testified that Mr. Burleson did not steal the

        letters from Gers, but that Gers gave the letters to Mr. Burleson. (Hr'g Tr.

        200).

                Similarly, Gers wrote a letter to Pablo LeBeau. Pablo LeBeau, through

        his attorney, contacted law enforcement and turned over the letter. Gers

        applied for a Writ of Habeas Corpus Ad Testificandum for Pablo LeBeau to

        appear. The Court granted the Writ. Immediately thereafter, Pablo's attorney
    j
        moved to quash the Writ, invoking his Fifth Amendment right against self-


II      incrimination. Given Pablo's right to claim the privilege of the Fifth

        Amendment, the Court granted the motion to quash the Writ.

                While in custody of the jail, Gers Lebeau also prepared a note and passed
I
I       it to a fellow inmate, Luke Pond. (Hr'g Tr. 161). Passing notes is in violation of
i
)

I       jail policy. Mr. Pond was caught with the note and he turned it over to the jail.


I       The note was then seized by the jail and turned over to Agent Cooper.

                                                10
I
1
     Case 5:14-cr-50048-KES   Document 248 Filed 06/10/15      Page 11 of 43 PageID #:
                                         2434



                                      DISCUSSION

     Issue I. Motion to Suppress Evidence (ECF No. 30, ECF No. 142)

           A.    Introduction

        Gers LeBeau first argues that law enforcement lacked probable cause to

     conduct a search of his hotel room and question him.    Here, officers engaged

     in a "knock and talk." "As commonly understood, a 'knock and talk' is a

     consensual encounter and therefore does not contravene the Fourth

     Amendment, even absent reasonable suspicion." States v. Cruz-Mendez, 467

     F.3d 1260, 1264 (10th Cir. 2006). This principle permits police officers-

     consistent with the Fourth Amendment-to "approach[] the front door to
l    announce their presence," make "inquir[ies]," and "request consent to search
I    the remainder of the property." United States v. Wells, 648 F.3d 671, 679 (8th
I    Cir. 2011) (citing United States v. Weston, 443 F.3d 661, 667 (8th Cir.2006).


l
l
l
     However, a "knock and talk" can become coercive if the police assert their

     authority, refuse to leave, or otherwise make the people inside feel they cannot

Ii   refuse to open up. United States v. Poe, 462 F.3d 997, 1000 (8th Cir. 2006).
l

J    Here, there is no evidence of coercive law enforcement actions threatening Gers


I    to open the door. Gers was contacted on the telephone by hotel staff

I    requesting Gers to open his door to talk to the hotel manager. This trickery is

I
'    not prohibited by the Fourth Amendment. In the case of United States v.

     Spotted Elk, the defendant opened her motel room after the hotel manager

     knocked and stated, "Front desk" while officers waited at the door. 548 F.3d

     641, 654 (8th Cir. 2008). The Eighth Circuit upheld the district court's finding

                                            11


I                                                                                        (
                                                                                         I
     Case 5:14-cr-50048-KES   Document 248 Filed 06/10/15      Page 12 of 43 PageID #:
                                         2435



     that the defendant opened the door of the motel room of her own accord and

     therefore, no Fourth Amendment violation occurred. Likewise, the knock and

     talk procedure conducted here complied with the requirements of the Fourth

     Amendment.

           B.    Ger's Pre-Arrest Statements

           Ger's moves to suppress all statements he made during his immediate

     detention outside of his hotel room and all other pre-arrest statements made

     while he was in the hotel room.

           The government filed a response indicating that it does not intend to use

     any of the statement made by Gers LeBeau during the search of the hotel room

     during its case in chief. Because the government does not intend to offer the

     contested evidence at trial, the court need not reach the merits of this motion

     to suppress. The proper course of action is to deny the motion to suppress,
t
                                                   See,~' United States v. Lindsey,
\    subject to renewal if it becomes necessary.

j    No. 10-15 (JNE/JJK), 2010 WL 4822925 at *1 (D.Minn. Nov. 22, 2010); United
l
I
f    States v. Mitchell, No. 08-CR-46-LRR, 2009 WL 36605 (N.D. Iowa Jan. 5,

f    2009). It is respectfully recommended that the motion to suppress the pre-
I    arrest statements be denied as moot.
I
~
l          C. Search of the hotel room
~
l
i          Gers LeBeau moves to suppress the physical evidence obtained in the

     hotel room. He argues that he did not give consent to search the room. He

iI
~
     asserts that the permission to search form was forged. Second, Gers argues

     that he was impaired and unable to give consent.


I                                           12
l
                                                                                         I
Case 5:14-cr-50048-KES    Document 248 Filed 06/10/15       Page 13 of 43 PageID #:
                                     2436



            1.     Consent

      When a defendant claims he did not voluntarily consent to a search, the

Government bears the burden of proving consent was voluntarily given. United

States v. Sanders, 341F.3d809, 817 (8th Cir. 2003). The standard of proof is a

preponderance of the evidence. Lego v. Twomey, 404 U.S. 477 (1972).

      It should be noted that even if Gers LeBeau made statements in the

absence of Miranda warnings, it does not necessarily follow that Mr. LeBeau's

consent to search the hotel room is invalid, or must be suppressed in the

absence of Miranda warnings. "[A] consent to search is not an incriminating

statement." Cody v. Solem, 755 F.2d 1323, 1330 (8th Cir. 1985), cert. den. 474

U.S. 833 (1985). And "even persons who have been arrested and are in

custody can voluntarily consent to a search ... " United States v. Chaidez, 906

F.2d 377, 382 (8th Cir. 1990).

      There are several factors to be examined to determine whether consent to

search was voluntarily given. Characteristics of the both person giving the

consent, and of the environment in which the consent was given are

considered. The relevant characteristics of the person are: ( 1) their age; (2)

their general intelligence and education; (3) whether they were intoxicated or

under the influence of drugs when consenting; (4) whether they consented after

being informed of their right to withhold consent or of their Miranda rights; and

(5) whether, because they had been previously arrested, they were aware of the

protections afforded to suspected criminals by the legal system. The relevant

environmental factors are: (1) whether the person was detained and questioned

                                         13
      Case 5:14-cr-50048-KES       Document 248 Filed 06/10/15   Page 14 of 43 PageID #:
                                              2437



      for a long or short time; (2) whether the person was threatened, physically

      intimidated, or punished by the police; (3) whether the person relied upon

      promises or misrepresentations made by the police; (4) whether the person was

      in custody or under arrest when consent was given; (5) whether the person was

      in public or a secluded place; and (6) whether the person objected to the search

      or stood by silently while the search occurred. See Chaidez, id, at 381. Also,

      "when a person consents to a search after officers state they will attempt to

      obtain a search warrant if the person does not consent, the consent is not

      necessarily coerced." United States v. Severe, 29 F.3d 444, 446 (8th Cir. 1994),

      cert. den. 513 U.S. 1096, 115 S.Ct. 763, 130 L.Ed.2d 660 (1995).

            Here, after Gers exited his hotel room and was patted down and

      handcuffed, law enforcement informed Gers that they needed to speak with the

      female inside the room. Gers called to the female in the room, "Katrina." Agent

      Tolsma and Agent Sheridan testified that Gers consented to their entry into the

      hotel room by stating "okay" in response to whether they could talk to the
1.j   female. (HT p. 254, 256) .


I           In his initial filings, Gers admitted, "Defendant LeBeau granted

      permission only to remove the female from his hotel room." (EFT 31, p. 1] In

      his later pleadings, he retracts this admission by arguing that no consent was

      given (EFT 144). Gers' admission in his initial brief is consistent with

      testimony from law enforcement that they had consent to go into the room to

      speak with and ultimately remove the female. Agent Tolsma knocked on the


I
l
      door, which was ajar. There was very loud music coming from the room and

I                                              14
I
I
    Case 5:14-cr-50048-KES    Document 248 Filed 06/10/15       Page 15 of 43 PageID #:
                                         2438



    the female answered from inside the room. Agent Tolsma then pushed open

    the door, entered and approached the female. Agent Sheridan performed a

    protective sweep, which revealed a white powdery substance in plain view.

          Agent Youngblood removed the female from the hotel room to interview

    her in a separate room. Gers LeBeau and Marlin LeBeau were returned to

    Gers' hotel room. Their handcuffs were removed from the back and placed to

    the front. Gers was told that he was not under arrest and that he didn't have

    to talk to law enforcement. He provided information to law enforcement

    regarding how he met the female. Agent Tolsma asked Gers for consent to

    search his ro~m. (HT p. 259) Gers signed a form entitled Permission to Search

    (Ex. 11). Law enforcement did not threaten that they would get a search

    warrant.   (HT p. 272). Gers did not protest in any way while the search was

    gomg on. (HT p. 276). His demeanor was pleasant and cooperative.

          The relevant characteristics of Gers are as follows: 1) Gers is of legal age;

l   2) his level of education is unknown; 3) Gers had consumed alcohol but there
I
j
    was no observable evidence of being intoxicated or under the influence of

I   alcohol or drugs; 4) Gers consented to a search of the room after being told that

    he had the right to not cooperate; and 5) Gers has extensive experience with
I   the legal system and the protections afforded to suspected criminals. In fact,

    during the initial evidentiary hearing in this matter, he informed Magistrate

    Judge Simko that he was capable of representing himself. (EFf 103, p. 125).

          The relevant environmental factors are as follows: 1) at the time of the

    consent for the hotel room, Gers was only detained for a few minutes; at the

                                            15
Case 5:14-cr-50048-KES    Document 248 Filed 06/10/15     Page 16 of 43 PageID #:
                                     2439



time consent was given for the 1992 Thunderbird, Gers had been detained for

approximately 3 hours; 2) Gers was not threatened, physically intimidated or

punished by the police. The audio tape verifies that officers were polite and

courteous and Gers voluntarily engaged officers in conversation; 3) Gers was

told that the reason why law enforcement was there was to investigate activities

of the female and he was told that he was not going to be arrested; 4) While he

consented, Gers was in a custodial setting; 5) Gers was in a public place when

he consented to law enforcement talking to the female and he was in a

secluded place when he consented to a search of the room; 6) Gers did not

object to law enforcement entering his hotel room and he did not object when

they conducted the search of his room.

      The application of these factors leads me to conclude that Gers LeBeau

voluntarily consented to the search of the hotel room. However, Gers argues

that the consent form was forged and that his level of intoxication rendered his

consent involuntary.

                       a) Forgery

      Gers claims that he did not sign the consent form. He put forth

testimony from Wendy Carlson, a forensic document examiner and handwriting

expert. Ms. Carlson opined that the signature line which purports to be the

signature of Gerald LeBeau is not Gerald LeBeau's signature. (Hr'g Tr. 32) Ms.

Carlson further testified that it is highly probable that the person who signed

Lyle Tolsma's name also signed the purported signature of Gerald LeBeau.

(Hr'g Tr. 33). Gers provided Ms. Carlson with a document purporting to be the

                                         16
Case 5:14-cr-50048-KES    Document 248 Filed 06/10/15     Page 17 of 43 PageID #:
                                     2440



known signature of Gers LeBeau, (Ex. K-1). She was asked to compare that

with the signature on Exhibit 11 to determine whether they were consistent.

Ms. Carlson relied upon Exhibit K-1 being a known signature, without knowing

the content of when or how Exhibit K-1 was prepared.

      The government offered the testimony of Daniel P. Anderson, a document

examiner with the FBI Laboratory in Quantico, Virginia. He testified that he

was unable to determine whether Exhibit 11 was signed by Gerald LeBeau or

not. To this point, he testified that the signature was not comparable because

the writing was illegible and there were no letter formations. Furthermore, Mr.

Anderson testified that in order to compare a questioned signature with a

known signature, he would want at least 35 known signature documents. Mr.

Anderson discredited Ms. Carlson by pointing out that the purported known

signature that she relied upon in forming her opinion, consisted of just one

signature, it was undated and of an unknown source.

      The fact that Ms. Carlson's opinion relied upon one document which

purported to be the "known" signature for comparison purposes, without

requiring additional known signatures and the context in which they were

given, renders her testimony less credible. Her analysis and opinions entirely

hinge on whether she received an accurate "known" signature from Gers. Her

opinions are further undermined by the fact that she believes it highly probable

that Lyle Tolsma also signed Gerald LeBeau's signature. Even from the

untrained eye of this court, there is striking similarity from Gers LeBeau's

signature on Exhibit 11 and Gers LeBeau's signature on Exhibit 15. It also

                                       17
Case 5:14-cr-50048-KES     Document 248 Filed 06/10/15     Page 18 of 43 PageID #:
                                      2441



bears mentioning that Gers signed the Permission to Search form (Exhibit 11)

while he was in handcuffs. Approximately 6 hours later, Gers signed the

Inmate Property Orientation Sheet. Notably, Agent Tolsma did not accompany

Gers to the jail or was present when Gers signed this form.

        The court rejects the testimony of Ms. Carlson and determines that

based on the testimony of Agent Tolsma and Agent Sheridan, the consent form

was signed by Gers LeBeau.

                       b) Impairment

        Gers Le Beau also argues that he was under the influence of drugs and·

alcohol and therefore his consent was not voluntary, knowing and intelligent.

Gers implies that his speech is slurred on the audio tape and the photos reveal

blood shoot eyes. The Eighth Circuit has repeatedly declined to adopt a per se

rule that a waiver of Miranda rights is invalid because one is intoxicated when

the waiver is made. See United States v. Turner, 157 F.3d 552, 555-56 (8th

Cir. 1998); United States v. Makes Room For Them, 49 F.3d 410, 414 (8th Cir.

1995); United States v. Casal, 915 F.2d 1225 (8th Cir. 1990). Case law doesn't

clearly describe when an intoxicated suspect "crosses the line" and becomes

too intoxicated to comprehend his rights and the consequences of waiving

them.

               A confession otherwise voluntary is not to be excluded
        because the accused was intoxicated when he made it. The fact
        that the confesser was intoxicated is a circumstance affecting its
        credibility, and is to be considered by the jury.
              If the intoxication of the confesser produced actual mania, or
        rendered the confesser unconscious of what he was saying, his
        confession is inadmissible. However, the fact that the accused had

                                        18
Case 5:14-cr-50048-KES    Document 248 Filed 06/10/15     Page 19 of 43 PageID #:
                                     2442



      but recently recovered from delirium tremens will not render his
      confession inadmissible.
            The fact that the defendant was intoxicated when he
      confessed is immaterial if he had sufficient mental capacity at the
      time to know what he was saying and to have voluntarily intended
      it.

United States v. Martin, 434 F.2d 275, 278 (5th Cir. 1970) (quoting Barbara E.

Bergman et. al., 2 Wharton's Criminal Evidence, 122, 388, 12th Ed. Supp.

1970) (internal citations omitted). Gers offered the testimony of forensic

chemist Kathryn Engle whereby she extrapolated Gers' blood alcohol content to

a range of .076 to .116 at the time when the consent form was filled out. There

was no evidence regarding the amount of cocaine, if any, was in Gers' system.

Ultimately, Ms. Engle testified that she couldn't render an opinion as to

whether, "yes, he was impaired enough; no, he was not impaired" (Hr'g Tr.

107) and that she would defer to the persons present to judge objective

impairment. (Hr'g Tr. 110). Agents Tolsma, Sheridan and Youngblood testified

that they could smell alcohol on Gers, but that he showed no signs of

intoxication. In listening to the audio recording, Gers was clearly coherent and

very aware of what he was saying, the nature of his rights and the

consequences of waiving them. Thus, his statements will not be suppressed

because he was not so intoxicated as to render his statements involuntary.

            2. Whether Gers gave consent for the initial entry of the hotel
               room.

      The parties introduced extensive evidence regarding whether Gers

consented to law enforcement initially entering the hotel room. Such a

determination is unnecessary if there is subsequent consent to search

                                       19
     Case 5:14-cr-50048-KES    Document 248 Filed 06/10/15
                                          2443
                                                               Page 20 of 43 PageID #:
                                                                                         I
     sufficient to purge the taint of the claimed Fourth Amendment violation.

     United State v. Whisenton, 765 F.3d 938 (8th Cir. 2014). "When an illegal

     entry precedes a defendant's grant of consent to search, the Government must

     show (1) that the defendant's consent was voluntary and (2) that the 'consent

     was an independent act of the defendant's free will that purged the taint of the

     Fourth Amendment violation. m Id. (quoting United States v. Greer, 607 F.3d

     559, 564 (8th Cir.2010); United States v. Lakoskey, 462 F.3d 965, 975 (8th

     Cir.2006)). "To determine whether the defendant's consent purged the taint of

     the illegal entry, we consider '(1) the temporal proximity between the Fourth

     Amendment violation and the grant of consent to search; (2) the presence of

     any intervening circumstances; and (3) the purpose and flagrancy of the

     agent's Fourth Amendment violation. m Id. (quoting United States v. Barnum,

     564 F.3d 964, 971 (8th Cir.2009)). "We also consider 'the giving of Miranda
I    warnings where applicable. m Id. (quoting Greer, 607 F.3d at 564).

           Here, the audio indicates that at least 7 minutes elapsed from the time
I
J
     law enforcement entered the hotel room and from when Gers gave consent to
I
II   search the room. It is unknown how much time actually elapsed because the

     audio recorder malfunctioned when it appeared that law enforcement was

     preparing to ask for Gers' consent. The Eighth Circuit has found sufficient

     passage of time in as little as 9 minutes and 35 seconds. United States v.

     Esquivel, 507 F.3d 1154, 1160 (8th Cir. 2007). During that time, Gers was in

     the hall while law enforcement questioned the female inside the room. This




                                            20
Case 5:14-cr-50048-KES    Document 248 Filed 06/10/15      Page 21 of 43 PageID #:
                                     2444



would have given him time to pause and reflect, to decline to consent or to

revoke consent.

      As to the second factor, once Gers was taken inside the hotel room, his

handcuffs were repositioned in front of Gers' body and law enforcement

informed Gers that he didn't have to talk to them. After being told that he

could refuse to talk to law enforcement, he signed a consent form, thus

providing not only verbal consent, but written consent acknowledging that his

consent was voluntary and that law enforcement could take whatever they

deemed pertinent. Gers stated that he had nothing to hide and was just

gambling.

      As to the final factor, we look to the purpose and flagrancy of the agent's

Fourth Amendment violation. It should be noted that the court hasn't made a

determination that a Fourth Amendment violation actually occurred. In fact,

there are facts that support a finding that the government has met its burden

that Gers consented to the initial entry of the hotel room. Additionally, exigent

circumstances may have existed to enter the hotel room, given law

enforcement's reasonable belief that two suspected drug dealers and/ or users

were in the hotel room and the evidence could have been destroyed. Here, law

enforcement did not enter violently and they had a purpose of investigating a

female present in Gers' hotel room and believed to be involved with narcotics.

If there was a Fourth Amendment violation, it certainly wasn't flagrant.




                                       21
Case 5:14-cr-50048-KES    Document 248 Filed 06/10/15       Page 22 of 43 PageID #:
                                     2445



      In conclusion, assuming without deciding that the initial entry was in

violation of the Fourth Amendment, Gers' consent to search was sufficient to

purge the taint of the claimed Fourth Amendment violation.

      D. Consent to search 1992 Ford Thunderbird

      Gers argues that he did not voluntarily give consent to law enforcement

to search his 1992 Ford Thunderbird. The analysis to resolve whether consent

was given is set forth above. Here, the audio very clearly indicates that Gers

verbally agreed and gave his consent to the search of his 1992 Ford

Thunderbird. Again, he was not impaired so as to negate the voluntariness of

his consent. The court finds that Gers gave consent to search his Thunderbird

and the evidence obtained therefrom should not be suppressed.

      E. Defendant Gers       LeBeau's       Motion   to   Suppress    Post-arrest
         statements

      Gers was placed under arrest, seated in the patrol car, and read his

Miranda Rights. He indicated that he understood them and asked to speak

with a lawyer. Law enforcement discontinued questioning Gers at this point.

Gers now seeks to suppress the statements made by him after his arrest.

      "Under Miranda, the government is prohibited from using statements

made during custodial interrogation unless the defendant has been previously

advised of his Fifth Amendment privilege against compulsory self incrimination

and right to an attorney. Because '[v]olunteered statements of any kind are not

barred by the Fifth Amendment' Miranda concerns do not arise in the absence

of police interrogation, however. Interrogation is not limited to "express

questioning," for it also includes "any words or actions on the part of the police
                                        22
     Case 5:14-cr-50048-KES    Document 248 Filed 06/10/15     Page 23 of 43 PageID #:
                                          2446



     (other than those normally attendant to arrest and custody) that the police

     should know are reasonably likely to elicit an incriminating response." United

     States v. Lockett, 393 F.3d 834, 837 (8th Cir. 2005)(citing Miranda v. Arizona,

     384 U.S. 436 (1966); Rhode Island v. Innis, 446 U.S. 291, 301, (1980)).

           Agent Cooper testified that Gers was placed under arrest, seated in the

     patrol car and Agent Sheridan read Gers his Miranda rights. Gers indicated

     that he understood and he requested a lawyer: (Hr'g Tr. 140-141). Agent

     Cooper testified that law enforcement didn't ask Gers anything further. Id.

     Thereafter, during the 40-45 minute drive to the jail, Gers engaged law

     enforcement in conversation discussing his gambling habits and gambling

     strategies.

           Given that law enforcement did not ask him anything on the way to the

     jail and there is no evidence refuting Agent Cooper's testimony, the court

     concludes that Gers' statements were voluntary statements which were not the
I
\    product of interrogation and therefore, should not be suppressed.
Il         F. Validity of the January 16, 2014 Search Warrants (FEMA Trailer,
              Verizon Cell Phone and 1992 Thunderbird) and Motion for a
              Franks hearing

           Defendant Gers filed two motions addressing the above issues (ECF No.

     30 and ECF No. 142). The motions are overlapping and will be addressed

     together.

                   1.   Preliminary Showing for a Franks Hearing

           As a preliminary matter, a defendant is only entitled to a Franks hearing

     if he makes a substantial showing that an affiant to a search warrant

                                            23
    Case 5:14-cr-50048-KES    Document 248 Filed 06/10/15       Page 24 of 43 PageID #:
                                         2447



    application knowingly or intentionally, or with reckless disregard for the truth,

    made false statements or omitted material facts and that the alleged

    statements were necessary to a finding of probable cause. Franks v. Delaware,

    438 U.S. 154, 155-56 (1978). "Whether [the defendant] will prevail at that

    hearing is, of course, another issue." Id. at 172.

          The Fourth Amendment requires that a search warrant may be issued

    only upon a showing of probable cause. United States v. Williams, 4 77 F.3d

    554, 557 (8th Cir. 2007). In order to challenge a finding of probable cause

    under Franks, a defendant must show, by a preponderance of the evidence,

    that (1) the affiant, in preparing the search warrant affidavit, deliberately and

    knowingly, or with reckless disregard for the truth, included falsehoods; and

    (2) the affidavit lacks sufficient content to support a finding of probable cause if

    the challenged information is set aside. Franks, 438 U.S. at 171-72; United

    States v. Humphreys, 982 F.3d 254, 259 n.2 (8th Cir. 1992). The same


I   analysis applies to omissions of facts in that the defendant must show (1) that

    the affiant intentionally or recklessly omitted material facts thereby making the

    affidavit misleading; and (2) that the affidavit, if supplemented by the omitted

    information, could not support a finding of probable cause. Humphreys, 982

    F.3d at 259 n.2. The defendant's challenge must be more than conclusory and

    must be supported by the evidence. Franks, 438 U.S. at 171. The defendant

    must specify which parts of the affidavit are claimed to be false and must

    provide a statement of supporting reasons or an "offer of proof." Id. Finally,

    the defendant may only challenge the veracity of the affiant's statements and

                                            24
Case 5:14-cr-50048-KES    Document 248 Filed 06/10/15      Page 25 of 43 PageID #:
                                     2448



not that of nongovernmental informants because a reviewing court is

concerned only with whether the affiant knowingly and deliberately included

falsehoods or recklessly omitted the truth. Id.   See also United States v. Ball,

No. 06-4135, * 5 (8th Cir. Aug. 22, 2007); United States v. Amburn, 412 F.3d

909, 917 (8th Cir. 2005) (both citing Franks v. Delaware, 438 U.S. 154, 171

(1978)).

      "To show reckless disregard for the truth, we do not look simply at

whether a statement included in the affidavit was true; rather, we ask whether,

when looking at all the evidence available to the officer, the officer 'must have

entertained serious doubts as to the truth of his [or her] statements or had

obvious reasons to doubt the accuracy of the information he [or she] reported. m

United States v. Neal, No. 07-1941, at *4 (8th Cir. June 16, 2008) (quoting

United States v. Schmitz, 181 F.3d 981, 986-987 (8th Cir. 1999) (quoting

United States v. Clapp, 46 F.3d 795, 801 n.6 (8th Cir. 1995)) (alterations in

original). Under this standard, "every fact recited in the warrant affidavit [need

not] necessarily [be] correct." United States v. Buchanan, slip op. 08-3515 (8th

Cir. July 27, 2009) (quoting Franks, 438 U.S. at 165).

      An affidavit submitted in support of a search warrant carries a

presumption of validity. Neal at *5 (citing Franks, 438 U.S. at 171). Showing

that an affiant was negligent or made an innocent mistake is not sufficient to

show a Franks violation. Id. "Nevertheless, an officer may not circumvent the

Franks doctrine by providing only selective information to another officer who

is unaware of the full information and therefore includes false information or

                                        25
    Case 5:14-cr-50048-KES    Document 248 Filed 06/10/15      Page 26 of 43 PageID #:
                                         2449



    omits material information from an affidavit in support of a warrant." Id.

    (citing United States v. Davis, 471 F.3d 938, 947 n.6 (8th Cir. 2006) (citing

    Franks, 438 U.S. at 164 n.6) ("where law enforcement authorities are

    cooperating in an investigation, as here, the knowledge of one is presumed

    shared by all").

          If an application for a search warrant is based in part on information

    obtained from a confidential informant, the evidence from the search will not

    be suppressed based on Franks if the affiant who applied for the search

    warrant failed to recount the confidential informant's criminal history. See

    United States v. Pruett, No. 06-3500 (8th Cir. Sept. 6, 2007) (where omission of

    Cl's criminal history was due to the fact that affiant did not have access to Cl's

    criminal history at the time he completed the warrant application); United

    States v. Allen, 297 F.3d 790, 795 (8th Cir. 2002) (holding that omission of Cl's

    criminal history did not support exclusion of evidence of search where affiant
l
    did not know the exact nature of the criminal history). See also United States



I   v. LaMorie, 100 F.3d 54 7, 555 (8th Cir. 1996) (details of Cl's record not

    material where magistrate knew generally of Cl's crimes and the Cl's credibility

    was supported by other evidence).

          Gers' argument is premised upon the fact that the woman who was with

    Lloyd Nickel was Jessica Fields and that hotel staff was incorrect about the


l
~
    identity of the woman who was with Gers LeBeau, whom they believed to be

    Jessica Fields. Gers called investigator Mark Pecora who testified that he
l
I   contacted Lloyd Nickel in federal prison in Terra Haute, Indiana. Mr. Nickel

!
I

1                                           26
    Case 5:14-cr-50048-KES        Document 248 Filed 06/10/15          Page 27 of 43 PageID #:
                                             2450



    informed Mr. Pecora that he was with Jessica Fields in Deadwood. He testified

    that he does not know a person named Tyra Smith. Gers also called Tyra

    Smith who testified that she has never met Jessica Fields and she doesn't

    know anyone by the name of Lloyd Nickel. 3 However, at the time law

    enforcement knocked on the hotel room they were relying on information

    voluntarily provided by hotel staff that the female with Gers was Jessica Fields.

    Additionally, at the time Agent Cooper prepared his affidavit, he had

    information that the female with Gers both went by "Katrina" as well as Tyra

    Smith.

           The Eighth Circuit has held that an officer "may rely upon information

    received through an informant ... so long as the informant's statement is

    reasonably corroborated by other matters within the officer's knowledge,"

    United States v. Koons, 300 F.3d 985, 991 (8th Cir. 2002). Here, the

    informants reviewed video tape with the officers and had a hotel employee walk

    past the female in Gers' hotel room in an effort to confirm that she was Jessica
l
l

I   Fields, the woman associated with Lloyd Nickel. It is undisputed that the hotel


I   staff identified Tyra Smith (the female with Gers) as being the same woman he

    believed to be Jessica Fields. (Hr'g Tr. 4 77). Ag~nt Cooper's reliance on this

    information does not constitute knowingly and deliberately including

    falsehoods or recklessly omitting the truth. In the absence of a showing that




    3 The testimony regarding the identity of the female in the room was offered by Tyra Smith, a
    convicted felon. Additionally, Mark Pecora provided hearsay testimony regarding his interview
    with Lloyd Nickel, a convicted felon. The court finds that neither Tyra Smith or Lloyd Nickel
    (via hearsay testimony of Mark Pecora) are credible witnesses.

                                                 27


                                                                                                    l
     Case 5:14-cr-50048-KES      Document 248 Filed 06/10/15     Page 28 of 43 PageID #:
                                            2451



     Agent Cooper knowingly and deliberately included a falsehood or recklessly,

     Gers is not entitled to a Franks hearing.

                 2.     Validity of the Search Warrant

            "A movant seeking to suppress evidence under a regularly issued

     warrant has the burden to show that the warrant was issued without probable

     cause." United States v. Sierra-Garcia, 760 F.Supp. 252, 262 (E.D.N.Y. 1991)

     (citations omitted). The standard of proof is a preponderance of the evidence.

     Lego v. Twomey, 404 U.S. 477, (1972). A "reviewing court must accord
I!
     substantial deference to the finding of an issuing judicial officer that probable
1
     cause exists." United States v. Williams, 10 F.3d 590, 593 (8th Cir. 1993)
I
     (citing Illinois v. Gates, 462 U.S. 213, 236 (1983)). Further, affidavits

     supporting search warrants are considered presumptively valid. Franks, 438

     U.S. at 171. "Probable cause requires that the circumstances set forth in an

     affidavit supporting an application for a search warrant demonstrate a 'fair

     probability that contraband or evidence of a crime will be found in a particular

     place.'" United States v. Tyler, 238 F.3d 1036, 1038 (8th Cir. 2001) (quoting

     Gates, 462 U.S. at 238)).

           In determining whether probable cause exists, courts look to the totality

     of the circumstances and consider all the facts "for their cumulative meaning"

     rather than evaluating each fact independently. Williams, 10 F.3d at 593;

     Tvk!:, 238 F.3d at 1038. "Applications and affidavits for issuance of a warrant
     should be examined under a common sense approach and not in a




Il                                           28
     Case 5:14-cr-50048-KES      Document 248 Filed 06/10/15     Page 29 of 43 PageID #:
                                            2452



     hypertechnical fashion." Williams, 10 F.3d at 593 (citing United States v.

     Ventresca, 380 U.S. 102, 109 (1965)).

           The key question in determining whether a search warrant is supported

     by a finding of probable cause is whether, viewing all of the information

     collected by law enforcement as a whole, a "reasonable person could suspect

     that a search would uncover evidence of crimes committed by [the defendant]."

     '.rykr, 238 F.3d at 1038.

           The Supreme Court summarized the probable cause standard as follows:

           The task of the issuing magistrate is simply to make a practical,
           common-sense decision whether, given all the circumstances set
           forth in the affidavit before him, including the "veracity" and "basis
           of knowledge" of persons supplying hearsay information, there is a
           fair probability that contraband or evidence of a crime will be
           found in a particular place. And the duty of a reviewing court is
           simply to insure that the magistrate had a "substantial basis for ...
           conclud[ing)" that probable cause existed.

     Gates, 462 U.S. at 238-30). In considering the totality of the circumstances,

     Agent Cooper's affidavit contained knowledge of Gers' extensive history with

     distributing illegal narcotics, as well as the recent seizure of 4.5 ounces of

     cocaine from Gers' Thunderbird. Gers has failed to meet his burden of showing

     that the warrant was issued without probable cause.

                 3.     Jurisdiction of Circuit Court Judge Robert Gusinsky

           In ECF No. 30, Gers argues that the state circuit court judge lacked the

     authority and/ or jurisdiction to issue a search warrant for property located in

     Indian county. Gers again raised that issue by separate motion (ECF No. 157),
'I

     which is discussed at length in Issue IV below. For the reasons set forth in
j
l
!                                            29
I
l
I
     Case 5:14-cr-50048-KES    Document 248 Filed 06/10/15      Page 30 of 43 PageID #:
                                          2453

il
I

j    Section,** this court finds that Circuit Court Judge Robert Gusinsky had
I    authority to issue the search warrants.
l

II   Issue II.   Motions to Suppress Tape Recorded Jail Telephone Calls (ECF
                 No. 129, ECF No. 154)

           Defendants both argue that it was a violation of their rights under the

     Fourth Amendment for the Pennington County Jail to tape record his

     conversations. Gers LeBeau and Neil LeBeau urge that their taped telephone

     conversations be suppressed on this ground.

           Title III of the Omnibus Crime Control and Safe Streets Act of 1968, 18

     U.S.C. §§ 2510 - 2521 prohibits the recording of oral or wire communications

     without a warrant and makes illegally taped recordings inadmissible at trial.

     However, section 2510(5)(a)(ii) of the Act makes an exception to this rule for

     tape recording of telephone conversations done by an investigative or law

     enforcement officer in the ordinary course of his duties. Where a law

     enforcement regularly records certain categories of conversation, such as

     telephone calls from inmates, such tape recordings fall within the exception of

     section 2510(5)(a)(ii) and, thus are legal and admissible. See United States v.

     Horr, 963 F.2d 1124, 1125-1126 (8th Cir. 1992). Furthermore, where notices

     are given to inmates that clearly indicate that telephone calls are taped, an

     inmate's proceeding to make calls under those circumstances constitute an

     implied consent to having his calls taped. Id. See also United States v.

     Eggleston, 165 F.3d 624, 626 (8th Cir. 1999). Here, the recordings clearly

     contain a message to both the inmate and the recipient that the call is being

     recorded. Gers was familiar with the recording and instructed the recipients
                                            30
Case 5:14-cr-50048-KES    Document 248 Filed 06/10/15       Page 31 of 43 PageID #:
                                     2454



that they could skip the warning. Defendants' motions to suppress his taped

telephone statements on Fourth Amendment grounds is denied.

Issue III.   Gers LeBeau's Motion to Suppress Sealed Envelopes and
             Motion for a Frank's hearing (ECF No. 140)

      As a preliminary matter, it should be noted that Gers initially filed the

Motion to Suppress Sealed Envelopes and Motion for a Frank's hearing. Neil

subsequently filed a Motion to Join in Gers' Motion regarding the sealed

envelopes. No further briefing was submitted by Neil on this issue. The court

will first address whether Neil has a right to join in Gers' motion.

      A.     Neil's Motion for Joinder (ECF No. 163) of Gers LeBeau's
             Motion     to Suppress Sealed Envelope and Motion for a
             Frank's hearing

      Neil claims a privacy interest in the sealed envelope which was in the

possession of Gers and addressed to Neil and ultimately obtained pursuant to

a search warrant. The government argues that Neil LeBeau does not have a

legitimate expectation of privacy in the evidence to be suppressed. (ECF No.

200 at p. 10).

      This single letter in which Neil claims an expectation of privacy was

originally in the possession of Gers and confiscated by US Marshals.

"Because [F)ourth [A]mendment rights are personal, a person challenging a

search warrant must demonstrate that he or she has a legitimate expectation

of privacy in the area searched .... By establishing a legitimate expectation of

privacy the person establishes his or her standing to challenge the search."

United States v. Wiley, 847 F.2d 480, 481 (8th Cir. 1988) (citing United States

v. Nabors, 761 F.2d 465, 468 (8th Cir. 1985)). If a defendant fails to prove a
                                        31
Case 5:14-cr-50048-KES    Document 248 Filed 06/10/15      Page 32 of 43 PageID #:
                                     2455



sufficiently close connection to the relevant places or objects searched he has

no standing to claim that they were searched or seized illegally." United States

v. Stallings, 28 F.3d 58, 60 (8th Cir. 1994) (quoting United States v. Gomez, 16

F.3d 254, 256 (8th Cir. 1994)). Moreover, "Fourth Amendment rights are

personal and cannot be asserted vicariously." United States v. Pierson, 219

F.3d 803 (8th Cir. 2000). The party moving to suppress, which in this case is

Neil, has the burden of proving a reasonable expectation of privacy in the area

[or item] searched. Id.

      Neil offers no evidence, other than the fact that the letter was addressed

to him, that he had a reasonable expectation of privacy. He provides no

authority in support of the proposition that an unmailed, sealed envelope still

in the possession of the purported writer of the letter creates a reasonable

expectation of privacy in the sealed envelope. It is recommended that Neil

LeBeau's Motion to Join Defendant's Motion to Suppress Sealed Envelopes and

Motion for Frank's hearing be denied.

      B.    Documents provided by Scott Burleson and Pablo LeBeau

      Gers moves to suppress "other correspondence attributed to Mr.

LeBeau." Presumably, Gers is referring to the letters provided by Scott

Burleson (and his attorney) and Pablo LeBeau (and his attorney), to law

enforcement. Gers does not specifically set forth argument or authority

regarding the illegality of these specific documents. "[An] agent's viewing of

what a private party had freely made available for his inspection does not

violate the Fourth Amendment." United States v. Jacobsen, 466 U.S. 109, 119

                                        32
Case 5:14-cr-50048-KES      Document 248 Filed 06/10/15     Page 33 of 43 PageID #:
                                       2456



(1984). No is no evidence that law enforcement did not directed Scott Burleson

or Pablo LaBeau to steal anything from Gers LeBeau. Instead, the testimony is

that both voluntarily gave these documents to law enforcement. Therefore,

they were acting as private individuals and not acting as a law enforcement

agent or with the participation or knowledge of law enforcement. Jacobsen,

466 U.S. at 114. These documents were not obtained in violation of the Fourth

Amendment should not be suppressed.

      C.    Note between Gers LeBeau and Luke Pond

      Presumably, Gers also moves to suppress the note/letter written by Gers

LeBeau to Luke Pond. Letters are in the general class of effects protected by

the Fourth Amendment. Jacobsen, 466 U.S. at 119. Gers argues that the

[note/letter is] privileged of which he has a legitimate expectation of privacy.

(Mot. Suppress 4, ECF No. 141). Agent Cooper testified that there were notes

passed between Gers LeBeau and Luke Pond. (Hr'g Tr. 161). Luke was caught

with the note and he provided it to the jail, which in turn provided it to Agent

Cooper.

      The government argues 1) that if a letter is sent to another, the sender's

expectation of privacy ordinarily terminates on delivery; 2) prison inmates,

including pretrial detainees do not have a legitimate expectation of privacy in

the their prison cells or in their outgoing non-privileged mail; and 3) the note

does not constitute mail.

      Gers does not offer any argument or authority in support of his position.

Here, once the note/letter was passed to Luke Pond, Gers no longer maintained

                                        33
Case 5:14-cr-50048-KES    Document 248 Filed 06/10/15      Page 34 of 43 PageID #:
                                     2457



an expectation of privacy in the note and it was not obtained in violation of the

Fourth Amendment.

      D.      Sealed envelopes obtained through a search warrant.

              1.   Franks hearing

      The court first addresses Gers' Motion for a Franks hearing. The

applicable standard for a Franks hearing is set forth above and incorporated

herein by reference. In summary, a defendant is not entitled to an evidentiary

hearing on the veracity of an affidavit in support of a search warrant simply by

raising the issue. As a preliminary matter, a defendant is only entitled to a

Franks hearing if he makes a substantial showing that an affiant to a search

warrant application knowingly or intentionally, or with reckless disregard for

the truth, made false statements or omitted material facts and that the alleged

statements were necessary to a finding of probable cause. Franks v. Delaware,

438 U.S. at 155-56 (1978). As the Franks Court explained:

      To mandate an evidentiary hearing [as to the veracity of statements
      in the affidavit in support of the search warrant], the challenger's
      attack must be more than conclusory and must be supported by
      more than a mere desire to cross-examine.            There must be
      allegations of deliberate falsehood or of reckless disregard for the
      truth, and those allegations must be accompanied by an offer of
      proof. They should point out specifically the portion of the warrant
      affidavit that is claimed to be false; and they should be
      accompanied by a statement of supporting reasons. Affidavits or
      sworn or otherwise reliable statements of witnesses should be
      furnished, or their absence satisfactorily explained.

Id. at 171.   Even if falsehoods are demonstrated, if-setting aside those

falsehoods- there is still probable cause to support the issuance of the

warrant, no hearing is to be held. Id. at 171-72.

                                       34
Case 5:14-cr-50048-KES    Document 248 Filed 06/10/15      Page 35 of 43 PageID #:
                                     2458



      Gers argues that the affidavit for the search warrant was misleading

because it omitted facts with the intent to make the affidavit misleading. Gers

prepared a list of "facts" he believes are facts which included in the affidavit,

the judge would not have issued the warrant. The vast majority of these "facts"

are legal arguments which have been rejected by this court.

      The court finds that Gers is not entitled to a Franks hearing because he

has not made a substantial showing that Agent Miller knowingly, or with

reckless disregard made false statements or omitted material facts.

            2.     Probable cause

      Gers next argues that the warrant was issued without probable cause.

The burden of proof is on the defendant who seeks to suppress evidence.

United States v. Phillips, 540 F.2d 319 (8th Cir.1976). "A movant seeking to

suppress evidence under a regularly issued warrant has the burden to show

that the warrant was issued without probable cause." United States v. Sierra-

Garcia, 760 F.Supp. 252, 262 (E.D.N.Y. 1991) (citations omitted). The

standard of proof is a preponderance of the evidence. Lego v. Twomey, 404

U.S. 477 (1972).

      Gers argues that the affidavit lacked probable cause because it discusses

1) letters improperly obtained without Gers' consent or a warrant; and 2) the

jail telephone phone calls were improperly obtained without Gers' consent or a

warrant. He further argues that Agent Miller's affidavit lacks facts to establish

any legal connection between the envelopes and/ or the phone calls and that




                                        35
Case 5:14-cr-50048-KES    Document 248 Filed 06/10/15       Page 36 of 43 PageID #:
                                     2459



LeBeau and the information in the phone calls and the letters were unreliable

and lack authenticity.

      The court has previously determined that the letters and phone calls

were properly obtained by law enforcement and did not violate Gers' Fourth

Amendment Rights, therefore these arguments are moot. Regarding Gers'

remaining argument that the search warrant lacked probable cause, we turn to

the standard for determining probable cause. "If an affidavit in support of a

search warrant sets forth sufficient facts to lead a prudent person to believe

that there is a 'fair probability that contraband or evidence of a crime will be

found in a particular place,' 'probable cause to issue the warrant has been

established. m United States v. Grant, 490 F.3d 627, 631 (8th Cir. 2007) (citing

United States v. Warford, 439 F.3d 836, 841 (8th Cir. 2006) (quoting Illinois v.

Gates, 462 U.S. 213, 238 (1983)). "Probable cause requires only a showing of

fair probability, not hard certainties." United States v. Hudspeth, 525 F.3d

667, 676 (8th Cir. 2008). Whether a search warrant is supported by probable

cause is to be determined by considering the totality of the circumstances.

Grant, 490 F.3d at 632. The issuing judge's resolution of the issue of probable

cause should be paid "great deference by reviewing courts." Id. (quoting Gates,

462 U.S. at 236) (quoting Spinelli v. United States, 393 U.S. 410, 419 (1969)).

      The totality of the circumstances reveals that law enforcement was

familiar with Gers' voice and obtained statements from the jail recording

wherein Gers discussed his ongoing drug operation; Pablo LeBeau voluntarily

provided law enforcement with a letter written by Gers instructing Pablo to not

                                        36


                                                                                      t
Case 5:14-cr-50048-KES    Document 248 Filed 06/10/15      Page 37 of 43 PageID #:
                                     2460



say anything; Scott Burleson voluntarily provided law enforcement with a letter

which Gers attempted to mail in violation of jail policy to Pablo LeBeau; and

these letters contained instructions from Gers to witnesses regarding their

testimony and his ongoing drug operations. This constitutes probable cause for

the warrant allowing law enforcement to open the sealed envelopes found in

Gers' possession

Issue IV.   Motion to Suppress Evidence Taken from Tribal Land For Lack
            of Jurisdiction (ECF No. 157)

      Gers initially filed a Motion to Suppress Evidence Taken from Tribal Land

for Lack of Jurisdiction and Motion for a Frank's hearing. Neil subsequently

filed a Motion to Join in Gers' Motion regarding the evidence taken from tribal

land. No further briefing was submitted by Neil on this issue. The court will

first address whether Neil has a right to join in Gers' motion.

      A.       Defendant Neil LeBeau's Motion for Joinder (ECF No. 160)

      As stated above, Neil has the burden of proving that he had a reasonable

expectation of privacy in order to establish standing to challenge the validity of

the search. See Wiley, 84 7 F.2d at481 (8th Cir. 1988). If Neil fails to prove a

sufficiently close connection to the relevant places or objects searched he has

no standing to claim that they were searched or seized illegally." United States

v. Stallings, 28 F.3d 58, 60 (8th Cir. 1994). Moreover, "Fourth Amendment

rights are personal and cannot be asserted vicariously." United States v.

Pierson, 219 F.3d 803 (8th Cir. 2000).

      Neil LeBeau again offers no evidence other than his bare assertion in his

motion that he can claim a privacy interest in the places search. Neil has failed
                                         37
    Case 5:14-cr-50048-KES      Document 248 Filed 06/10/15     Page 38 of 43 PageID #:
                                           2461

\
    to provide any evidence which would establish a sufficiently close connection to
1
l   Gers' 1992 Firebird, Gers' Verizon cell phone, Gers' FEMA trailer, Margaret
I
    Clark's residence, or a light/ electric pole near the Susan Shrader's residence to

    establish standing. It is recommended that Neil LeBeau's Motion to Join

    Defendant's Motion to Suppress Evidence Taken From Tribal Land be denied.

          B.     Jurisdiction

          Gers LeBeau argues that all evidence taken from tribal land be

    suppressed because the Seventh Circuit Court Judge Robert Gusinsky lacked

    jurisdiction to issue a search warrant. This same argument was raised and

    rejected by the Eighth Circuit Court of Appeals in the case of United States v.

    Chipps, 410 F.3d 438 (8th Cir. 2005). In Chipps, the defendant argued that

    South Dakota Circuit Judge John E. Fitzgerald did not have authority to issue

    a federal warrant. The Eighth Circuit rejected this argument and held:

          Rule 41(b)(1) installs the state judge as a proxy for the federal
          magistrate, and for the state judge to be an effective proxy, he or
          she should have the same territorial territorial jurisdiction (i.e., the
          same ability to issue a warrant) as a federal magistrate. See
          generally Fed.R.Crim.P. 2; United States v. Universal C.l.T. Credit
          Corp., 344 U.S. 218, 221, 73 S.Ct. 227, 97 L.Ed. 260 (1952).
          Interpreting "district" to mean federal district throughout the rule
          ensures that state judges and federal magistrates have the same
          territorial reach under Rule 41(b)(1).

    410 F.3d at 446. The Eighth Circuit rejected Chipps' argument, which is

    identical to Gers LeBeau's argument and stated, "We can locate no legal bar,

    either constitutional or statutory, to authorizing state courts to issue federal

    warrants for searches and seizures that are to take place outside of the state

    court's state jurisdiction." Id.

                                            38
Case 5:14-cr-50048-KES     Document 248 Filed 06/10/15       Page 39 of 43 PageID #:
                                      2462



      A judge of a state court of record in the district has the authority to issue

a warrant if the magistrate judge is reasonably unavailable. Fed. Rule. Crim.

P. 41(b)(l). The record demonstrates that Magistrate Judge Duffy was

unavailable and when presented with the application for the search warrant,

District Court Judge Viken recused himself. This suffices as "reasonably

unavailable" in order to trigger the authority of a state court judge.

      Gers LeBeau also argues that the government has failed to provide a

"certification or finding satisfactorily explaining the unavailability of a United

States Magistrate Judge within the State of South Dakota." (Mot. Suppress 4,

ECF No. 159). Gers fails to cite any authority in support of the proposition that

there must be such a showing made. The defendant in Chipps also raised this

same argument, without authority, which was rejected by the Eighth Circuit by

stating, "Mr. Chipps's assertion that there was no showing of unavailability

does not suffice to satisfy this standard." Id. (citing United States v. Brooks,

175 F.3d 605, 606-07 (8th Cir. 1999)).     Likewise, Gers LeBeau's argument is

rejected on the same basis that there is no authority cited which would

establish such a criteria. The Court recommends that the Motion to Suppress

Evidence Taken from Tribal Land for Lack of Jurisdiction (ECF No. 157) on the

grounds of lack of jurisdiction be denied.

      C.     Margaret Clark residence and electric pole near the Susan
             Schrader residence

      A defendant challenging a search has the burden to establish "that he

personally has an expectation of privacy in the place searched, and that his

expectation of privacy is reasonable .... " Minnesota v. Carter, 525 U.S. 83, 88
                                         39
Case 5:14-cr-50048-KES    Document 248 Filed 06/10/15     Page 40 of 43 PageID #:
                                     2463



(1998).   The challenger must prove that the expectation of privacy is

subjectively reasonable and objectively reasonable, "that is, one that society is

willing to accept."   United States v. Mccaster, 193 F.3d 930, 933 (1999).

Moreover, "Fourth Amendment rights are personal and cannot be asserted

vicariously." United States v. Pierson, 219 F.3d 803 (8th Cir. 2000).

      "[I]n some circumstances a person may have a legitimate expectation of

privacy in the house of someone else." Carter, 525 U.S. at 89. For example, an

overnight guest may have a legitimate expectation of privacy:           "From the

overnight guest's perspective, he seeks shelter in another's home precisely

because it provides him with privacy, a place where he and his possessions will

not be disturbed by anyone but his host and those his host allows inside." Id.

(citing Minnesota v. Olson, 495 U.S. 91, 98-99 (1990)).

      When analyzing whether the defendant may claim a                  reasonable

expectation of privacy in the home of another, courts should consider several

relevant factors: "whether the party has a possessory interest in the things

seized or the place searched; whether the party can exclude others from that

place; whether the party took precautions to maintain the privacy; and whether

th_e party had a key to the premises." Mccaster, 193 F.3d at 933.

      Here, Margaret Clark testified that only she and her sister, Twila, had a

key to her residence. She also testified that she allowed relatives to stay at her

house, if they needed a place to stay. There was no testimony that Gers had

any possessory interest in the things seized or the place searched.      Margaret

Clark testified that she consented to the search of her home.

                                       40
Case 5:14-cr-50048-KES    Document 248 Filed 06/10/15     Page 41 of 43 PageID #:
                                     2464



      Gers LeBeau presented no evidence to establish he had a subjective

expectation of privacy in the home of Margaret Clark. Without making such a

showing, the Defendant lack standing to challenge the search.

Issue V.     f4otion to Suppress Evidence Obtained During 2012 Traffic
             Stop (ECF No. 161)

      Neil LeBeau moves to suppress evidence obtained by the South Dakota

Highway Patrol on August 4, 2012, on the grounds that the evidence was

obtained in violation of the Fourth Amendment. The government filed a

response indicating that it would not use any evidence obtained from the

August 2012 traffic stop. Because the government does not intend to offer the

contested evidence at trial, the court need not reach the merits of this motion

to suppress. Accordingly, it is recommended that Neil LeBeau's Motion to

Suppress Evidence re: 2012 Traffic Stop be denied as moot.

                             RECOMMENDATION

      As to Gerald LeBeau's Motion to Suppress (ECF No. 30) it is respectfully

recommended that the portion relating to Ger's pre-arrest statements be denied

as moot.

      As to the remaining claims in Gerald LeBeau's Motion to Suppress (ECF

No. 30) it is respectfully recommended that the remaining basis for the motion

be denied.

      As to Gerald LeBeau's Motion to Suppress Tape Recordings of Jail

Telephone Calls (ECF No. 129) it is respectfully recommended that the motion

be denied.



                                       41
Case 5:14-cr-50048-KES      Document 248 Filed 06/10/15     Page 42 of 43 PageID #:
                                       2465



        As to Neil LeBeau's Motion to Suppress Recorded Telephone

Conversations (ECF No. 154) it is respectfully recommended that the motion be

denied.

        As to Gerald LeBeau's Motion to Suppress Sealed Envelopes and Motion

for a Frank's hearing (ECF No. 140) it is respectfully recommended that the

motions be denied.

        As to Neil LeBeau's Motion to Join (ECF No. 163) Gerald LeBeau's Motion

to Suppress Sealed Envelopes and Request for a Frank's hearing it is

respectfully recommended that the motion be denied.

        As to Gerald LeBeau's Second Motion to Suppress Statements and

Evidence and Request for a Frank's hearing (ECF No. 142) it is respectfully

recommended that the motion be denied.

        As to Gerald LeBeau's Motion to Suppress Evidence Taken from Tribal

Land (ECF No. 157) it is respectfully recommended that the motion be denied.

        As to Neil LeBeau's Motion to Join Gerald LeBeau's Motion to Suppress

Evidence Taken from Tribal Land (ECF No. 160) it is respectfully recommended

that the motion be denied.

        As to Neil LeBeau's Motion to Suppress Evidence re: 2012 traffic stop

(ECF No. 161) it is respectfully recommended that the motion be denied as

moot.

                               NOTICE TO PARTIES

        The parties have fourteen (14) days after service of this Report and

Recommendation to file written objections pursuant to 28 U.S.C. § 636(b)(l),


                                         42
Case 5:14-cr-50048-KES     Document 248 Filed 06/10/15      Page 43 of 43 PageID #:
                                      2466



unless an extension of time for good cause is obtained. Failure to file timely

objections will result in the waiver of the right to appeal questions of fact.

Objections must be timely and specific in order to require de novo review by the

District Court. Thompson v. Nix, 897 F.2d 356 (8th Cir. 1990); Nash v. Black,

781 F.2d 665 (8th Cir. 1986).

      DATED this    /~t{ day of June, 2015.
                                       BYTdouy.~//' /
                                       DA~
                                       United States Magistrate Judge




                                        43
